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                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                              Plaintiff,            )       8:05CR94
                                                    )
                      vs.                           )       FINAL ORDER OF
                                                    )       FORFEITURE
                                                    )
THOMAS WILSON,                                      )
                                                    )
                              Defendant.            )


       This matter is before the Court on the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 374). The Court reviews the record in this

case and, being duly advised in the premises, find as follows:

       1. On February 14, 2007, the Court entered a Preliminary Order of Forfeiture

pursuant to the provisions of Title 21, United States Code, Sections 846 and 853, based

upon the Defendant's plea of guilty to Counts I and II of the Second Superceding

Indictment filed herein. By way of said Preliminary Order of Forfeiture, the Defendant’s

interest in $2,500.00 in United States currency was forfeited to the United States.

       2. On March 8, 15 and 22, 2007, the United States published in a newspaper of

general circulation notice of this forfeiture and of the intent of the United States to dispose

of the property in accordance with the law, and further notifying all third parties of their right

to petition the Court within the stated period of time for a hearing to adjudicate the validity

of their alleged legal interest(s) in said property. An Affidavit of Publication was filed herein

on April 23, 2007 (Filing No. 373).

       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.
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       IT IS ORDERED:

       A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 374) is hereby

sustained.

       B. All right, title and interest in and to the subject property, i.e., $2,500.00 in United

States currency, held by any person or entity, is hereby forever barred and foreclosed.

       C. The subject property, i.e., $2,500.00 in United States currency, be, and the same

hereby is, forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of

said property in accordance with law.

       DATED this 26th day of April, 2007.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge




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